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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                            for the
                                               Northern District
                                             __________  DistrictofofCalifornia
                                                                      __________


      In re Google Play Consumer Antitrust Litigation          )
                             Plaintiff                         )
                                v.                             )      Case No.     3:20-cv-05761-JD
                                                               )
                            Defendant                          )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Plaintiffs                                                                                                   .


Date:          06/04/2021                                                            /s/ Kathleen A. Herkenhoff
                                                                                         Attorney’s signature


                                                                              Kathleen A. Herkenhoff (SBN 168562)
                                                                                     Printed name and bar number
                                                                                 KAPLAN FOX & KILSHEIMER LLP
                                                                                  1999 Harrison Street, Suite 1560
                                                                                       Oakland, CA 94612

                                                                                               Address

                                                                                    kherkenhoff@kaplanfox.com
                                                                                            E-mail address

                                                                                          (415) 772-4700
                                                                                          Telephone number

                                                                                          (415) 772-4707
                                                                                             FAX number
